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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    NORTHERN DIVISION

UNITED STATES OF AMERICA,

                         Plaintiff,
                vs.

SAMUEL OGOSHI,
SAMSON OGOSHI, and
EZEKIEL EJEHEM ROBERT,                                              INDICTMENT

                  Defendants.
_________________________________/

         The Grand Jury charges:

                                             COUNT 1
                      (Sexual Exploitation and Attempted Sexual Exploitation
                                  of a Minor Resulting in Death)

         On or about March 25, 2022, in Marquette County, in the Northern Division of the Western

District of Michigan and elsewhere,

                                       SAMUEL OGOSHI

knowingly used, persuaded, induced, and enticed, and attempted to use, persuade, induce, and

entice, a minor to engage in sexually explicit conduct for the purpose of producing a visual

depiction of that conduct, and such visual depiction was actually transported and transmitted using

a means and facility of interstate and foreign commerce and in and affecting interstate and foreign

commerce. In the course of this offense, SAMUEL OGOSHI engaged in conduct that resulted in

death.

         Specifically, SAMUEL OGOSHI used the persona “dani.robertts” on Instagram and used

the messaging feature of Instagram to communicate with Victim 1, who was approximately 17

years old. During those communications, SAMUEL OGOSHI asked Victim 1 to produce a



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sexually explicit image of himself. Victim 1 produced and sent a sexually explicit image to

SAMUEL OGOSHI through the internet using an online application. SAMUEL OGOSHI then

used the image to blackmail Victim 1. Victim 1 did not have enough money to pay the blackmail.

After SAMUEL OGOSHI threatened to disclose the image on social media, Victim 1 killed

himself.

18 U.S.C. § 2251(a) and (e)




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                                          COUNT 2
                           (Conspiracy to Sexually Exploit Minors)

       Beginning some time prior to February 2021, and continuing through at least May 2022,

the exact dates being unknown to the grand jury, in Marquette County, in the Northern Division

of the Western District of Michigan and elsewhere,

                                    SAMUEL OGOSHI,
                                    SAMSON OGOSHI,
                                EZEKIEL EJEHEM ROBERT,

and others known and unknown to the grand jury, knowingly conspired and agreed to use,

persuade, induce, and entice minors to engage in sexually explicit conduct for the purpose of

producing visual depictions of that conduct, and such visual depictions were actually transported

and transmitted using means and facilities of interstate and foreign commerce and in and affecting

interstate and foreign commerce.

       Specifically, each of the defendants pretended to be a young woman in social media

accounts and sought to have minor boys engage in sexually explicit conduct for the purpose of

producing visual depictions of such conduct. Once the minors produced and sent the images of

sexually explicit conduct to the defendants, the defendants used the images to blackmail the minor

victims for money by threatening to send the images to others, including, but not limited to, the

families, friends, and classmates of the victims. The defendants shared resources and methods to

engage in these acts of exploitation and extortion.

18 U.S.C. § 2251(a) and (e)




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                                        COUNT 3
                       (Conspiracy to Distribute Child Pornography)

       Beginning some time prior to February 2021, and continuing through at least May 2022,

the exact dates being unknown to the grand jury, in Marquette County, in the Northern Division

of the Western District of Michigan and elsewhere,

                                   SAMUEL OGOSHI,
                                   SAMSON OGOSHI,
                               EZEKIEL EJEHEM ROBERT,

and others known and unknown to the grand jury, knowingly combined, conspired, confederated,

and agreed to distribute child pornography using means and facilities of interstate and foreign

commerce, which child pornography was shipped and transported in and affecting interstate and

foreign commerce by any means, including by computer.

       Specifically, SAMUEL OGOSHI, SAMSON OGOSHI, and EZEKIEL EJEHEM

ROBERT conspired to distribute child pornography in order to blackmail their victims, as further

detailed in Counts 2 and 4 and incorporated herein.

18 U.S.C. § 2252A(a)(2)(A) and (b)(1)
18 U.S.C. § 2256(8)(A)




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                                       COUNT 4
                   (Conspiracy to Commit Stalking Through the Internet)

       Beginning some time prior to February 2021, and continuing through at least May 2022,

the exact dates being unknown to the grand jury, in Northern Division of the Western District of

Michigan and elsewhere,

                                     SAMUEL OGOSHI,
                                     SAMSON OGOSHI,
                                 EZEKIEL EJEHEM ROBERT,

and others known and unknown to the grand jury, knowingly conspired and agreed to use any

interactive computer service or electronic communication service or any other facility of interstate

or foreign commerce to harass and intimidate others by engaging in a course of conduct that

caused, attempted to cause, or would be reasonably expected to cause, emotion distress to a person,

in violation of Title 18, United States Code, Section 2261A(2)(B).

                                       Object and Purpose

       The object of the conspiracy was to commit stalking through facilities of interstate and

foreign commerce. The purpose of the conspiracy was to use hacked social media accounts to

harass and intimidate victims into paying money.

                                       Manner and Means

       1.      As part of the conspiracy, an individual hacked social media accounts, including,

but not limited to, various Instagram accounts. The same individual then sold the hacked accounts

to SAMUEL OGOSHI, SAMSON OGOSHI, EZEKIEL EJEHEM ROBERT, and others known

and unknown to the grand jury.

       2.      SAMUEL OGOSHI, SAMSON OGOSHI, and EZEKIEL EJEHEM ROBERT paid

for the hacked accounts by bank transfers and other means, and then used the hacked social media

accounts to extort money from victims.

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       3.      SAMUEL OGOSHI, SAMSON OGOSHI, and EZEKIEL EJEHEM ROBERT

devised a scheme where they would pose as young women and girls in the hacked accounts to lure

teenage and young adult males to engage in sexual chats.

       4.      SAMUEL OGOSHI, SAMSON OGOSHI, and EZEKIEL EJEHEM ROBERT

shared and used ideas of how to pose as a young woman and how to chat with teenage and young

adult men. They communicated with each other using various email, text, and chat applications.

       5.      Using female personas, SAMUEL OGOSHI, SAMSON OGOSHI, and EZEKIEL

EJEHEM ROBERT used the messaging feature of Instagram and other social media applications

to engage in communications with multiple victims. After initiating chat conversations with the

victims, the defendants simultaneously used Google and other online applications to research

information about the victims, including, but not limited to, where the victims lived, where they

went to school or where they worked, and who their family and friends were.

       6.      SAMUEL OGOSHI, SAMSON OGOSHI, and EZEKIEL EJEHEM ROBERT then

solicited their victims to produce and send sexually explicit images of themselves. Once the

defendants received sexually explicit images, they typically created a collage of pictures that

included the sexually explicit image with other images of the victim from social media, including,

but not limited to, images of the victim’s school, family, and friends. The defendants then

threatened to disclose the collages to others, including, but not limited to, the family, friends, and

classmates, of their victims via social media unless the victims agreed to pay money.




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       7.        SAMUEL OGOSHI, SAMSON OGOSHI, and EZEKIEL EJEHEM ROBERT used

and shared scripts and ideas of how to extort money from the victims, including but not limited to,

the following:

                 Hey I have screenshot all ur followers and tags and those
                 that comment on ur post. I can send this nudes to everyone
                 and also send your nudes Until it goes viral....All you’ve to
                 do is to cooperate with me and I will not expose you

       8.        SAMUEL OGOSHI, SAMSON OGOSHI, and EZEKIEL EJEHEM ROBERT

instructed the victims to send money to various financial accounts controlled by other individuals,

who are known and unknown to the grand jury.

       9.        The victims who complied sent money using electronic funds transfers, including,

but not limited to, Apple Pay and Zelle.

                                             Overt Acts

       10.       SAMUEL OGOSHI, SAMSON OGOSHI, and EZEKIEL EJEHEM ROBERT

contacted and attempted to contact more than 100 individuals in furtherance of the conspiracy to

harass and intimidate individuals into paying money.

       11.       SAMUEL OGOSHI asked Victim 1 to produce a sexually explicit image of himself,

which caused Victim 1, who was approximately 17 years old and lived in Marquette County,

Michigan.    to produce and send a sexually explicit image to SAMUEL OGOSHI through the

internet using an online application.

       12.       On or about March 25, 2022, beginning at approximately 05:23 UTC, the following

messages were exchanged with Victim 1:

                 a. dani.robertts: “I have screenshot all ur followers and tags can send this nudes
                    to everyone and also send your nudes to your Family and friends Until it goes
                    viral…All you’ve to do is to cooperate with me and I won’t expose you”
                 b. dani.robertts: “Are you gonna cooperate with me”
                 c. dani.robertts: “Just pay me rn” [“Just pay me right now”]

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              d. dani.robertts: “And I won’t expose you”
              e. Victim 1: “How much”
              f. dani.robertts: “$1000”

       13.    After Victim 1 only paid $300, SAMUEL OGOSHI made more threats to disclose

the images to Victim 1’s family and friends.

       14.    On March 25, 2022, beginning at approximately 07:43 UTC, the following

messages were exchanged with Victim 1:

              a.   dani.robertts: “Goodbye”
              b.   dani.robertts: “Enjoy your miserable life”
              c.   Victim 1: “I’m kms rn” [“I’m kill myself right now”]
              d.   Victim 1: “Bc of you” [“Because of you”]
              e.   dani.robertts: “Good”
              f.   dani.robertts: “Do that fast”
              g.   dani.robertts: “Or I’ll make you do it”
              h.   dani.robertts: “I swear to God”

       15.    Between about March 14, 2022 and about March 26, 2022, SAMSON OGOSHI

used the persona “dani.robertts” on Instagram and used the messaging feature of Instagram to

communicate with Victim 2 who was approximately 21 years old and lived in Warrens, Wisconsin.

       16.    SAMSON OGOSHI asked Victim 2 to produce a sexually explicit image of

himself, which caused Victim 2 to produce and send a sexually explicit image to SAMUEL

OGOSHI through the internet using an online application.

       17.    On March 25, 2022, beginning at approximately 07:09 UTC, the following

messages were exchanged with Victim 2:

              a. dani.robertts: “Pay me rn” [“Pay me right now”]
              b. dani.robertts: “$800”
              c. dani.robertts: “And I’ll end this”
              d. dani.robertts: “Deal or no deal”
              e. Victim 2: “I don’t have that kind of money”
              f. dani.robertts: “Haha”
              g. dani.robertts: “I love this”
                 ...
              h. Victim 2: “I have $50 in venmo and a $100 cash”

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              i. dani.robertts: “Dude”
              j. dani.robertts: “Now goodbye”
              k. dani.robertts: “Enjoy your miserable life”
              l. Victim 2: “Why”
              m. dani.robertts: “I’ll make this go viral”

       18.    On March 26, 2022, at approximately 04:15 UTC, the following messages were

exchanged with Victim 2:

              a. dani.robertts: “I will make you regret you life”
              b. dani.robertts: “I will make u commit suicide”
              c. dani.robertts: “I promise you I swear”

       19.    In or about May 2022, EZEKIEL ROBERT used an online persona to communicate

with Victim 3, who was approximately 16 years old and lived in Pawling, New York.

       20.    EZEKIEL ROBERT asked Victim 3 to produce a sexually explicit image of

himself, which caused Victim 3 to produce and send a sexually explicit image to EZEKIEL

ROBERT through the internet using an online application.

       21.    After Victim 3 sent the sexually explicit image, EZEKIEL ROBERT demanded

that Victim 3 pay him money, or he would disclose the image of Victim 3.

18 U.S.C. § 371
18 U.S.C. § 2261A(2)(B)

                                            A TRUE BILL


                                            _______________________________
                                            GRAND JURY FOREPERSON

MARK A. TOTTEN
United States Attorney


___________________________________
DANIEL Y. MEKARU
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